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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               ROCK HILL DIVISION

Nutramax Laboratories, Inc., and Nutramax       )     Civil Action No. 0:16-1255-JMC
Laboratories Veterinary Sciences, Inc.          )
                                                )
                                  Plaintiffs,   )
                                                )
               vs.                              )            CONSENT ORDER OF
                                                )         DISMISSAL WITH PREJUDICE
Manna Pro Products, LLC, Nutri-Vet              )
Wellness, LLC, and 21st Century Animal          )
HealthCare, LLC,                                )
                                                )
                                Defendants.     )


       NOW comes K&L Gates LLP, Attorneys for Plaintiffs Nutramax Laboratories, Inc.

and Nutramax Laboratories Veterinary Sciences, Inc., and Beattie B. Ashmore, Attorney for

Defendants Manna Pro Products, LLC, Nutri-Vet Wellness, LLC, and 21st Century Animal

HealthCare, LLC (collectively, the “Parties”). The Parties respectfully move the Court

pursuant to Fed. R. Civ. P. 41(a) for an Order of Dismissal with Prejudice, and for entry of

the attached Joint Stipulation of Settlement and Order.

       AND IT IS SO ORDERED that the Plaintiffs be granted an Order of Dismissal with

Prejudice in the above-entitled matter under the terms set forth in the attached Joint

Stipulation of Settlement and Order. Each party to bear its own costs.



       8 day of July, 2016.
This ______
                                                    Honorable J. Michelle Childs
                                                    United States District Judge
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WE SO MOVE:                             WE CONSENT:

PLAINTIFFS NUTRAMAX                     DEFENDANTS MANNA PRO PRODUCTS,
LABORATORIES, INC. AND                  LLC, NUTRI-VET WELLNESS, LLC, AND
NUTRAMAX LABORATORIES                   21ST CENTURY ANIMAL HEALTHCARE,
VETERINARY SCIENCES, INC.               LLC

By their attorneys,                     By their attorney,

/s/ Richard A. Farrier, Jr.              /s/ Beattie B. Ashmore
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